Entered: November 15th, 2018
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Signed: November 14th, 2018




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                              at Baltimore
                                   In re:   Case No.: 18−22458 − RAG       Chapter: 7

      Howard A Paper
      Debtor
      Creditor − State Employees Credit Union                  Reaffirmation − 20

                                            STATEMENT OF REVIEW

The above identified Reaffirmation Agreement has been reviewed. It appearing that all requirements of 11 U.S.C. §
524 have been complied with, counsel for debtor has made the certification set forth in 11 U.S.C. § 524(c)(3), and 11
U.S.C. § 524(m) being inapplicable to a Reaffirmation with a federal credit union, no hearing, determination, or order
is required.


cc:     Debtor
        Attorney for Debtor − Robert M. Stahl IV
        Case Trustee − Monique D. Almy
        U.S. Trustee
        Creditor − State Employees Credit Union

                                                   End of Order
34x07 (rev. 12/18/2007) − dsmith
